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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  SOUTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

DARNELL WILLIAMS,                   :

      Plaintiff,                    :

vs.                                 :   CIVIL ACTION 05-0014-CG-M

DARIEN ABRAMS, et al.,              :

      Defendants.                   :


                      REPORT AND RECOMMENDATION

      Plaintiff, an Alabama prison inmate proceeding pro se and

in forma pauperis, filed a complaint under 42 U.S.C. § 1983.

(Docs. 1, 5, 9).     This action has been referred to the

undersigned for a report and recommendation pursuant to 28

U.S.C. § 636(b)(1)(B) and Local Rule 72.2(c)(4).            After

consideration of the pleadings, and for the reasons set forth

below, it is recommended that this action be dismissed,

without prejudice, pursuant to 28 U.S.C. § 1915(e)(2)(B)(i),

as frivolous, and pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii),

for failure to state a claim upon which relief may be granted.

                        I. STANDARD OF REVIEW

      Because Plaintiff is proceeding in forma pauperis, the

Court has reviewed Plaintiff’s Complaint under 28 U.S.C. §
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1915(e)(2)(B).1   A complaint may be dismissed under §

1915(e)(2)(B)(i) as “frivolous” where “it lacks an arguable

basis either in law or in fact.”       Neitzke v. Williams, 490

U.S. 319, 325 (1989).     A claim is frivolous as a matter of law

where, inter alia, the defendants are immune from suit, id. at

327; the claim seeks to enforce a right which clearly does not

exist, id.; or there is an affirmative defense which would

defeat the claim, such as the statute of limitations, res

judicata, or collateral estoppel.        Clark v. Georgia Pardons &

Paroles Bd., 915 F.2d 636, 640 n.2 (11th Cir. 1990).           A claim

whose factual contentions are clearly baseless is also

frivolous, such as those describing fantastic or delusional

scenarios.   Neitzke, 490 U.S. at 327-28.

    Judges are accorded “not only the authority to dismiss a

claim based on an indisputably meritless legal theory, but

also the unusual power to pierce the veil of the complaint’s

factual allegations and dismiss those claims whose factual

contentions are clearly baseless.”        Neitzke, 490 U.S. at 327.

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      The predecessor to this section is 28 U.S.C. § 1915(d).
Although Congress made many substantive changes to § 1915(d)
when it enacted 28 U.S.C. § 1915(e)(2)(B), the frivolity and
the failure to state a claim analysis contained in Neitzke v.
Williams, 490 U.S. 319 (1989), was unaltered. See Bilal v.
Driver, 251 F.3d 1346, 1349 (11th Cir. 2001); Brown v.
Bargery, 207 F.3d 863, 866 n.4 (6th Cir. 2000). However,
dismissal under § 1915(e)(2)(B) is now mandatory. Bilal, 251
F.3d at 1348-49.

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The Eleventh Circuit has recognized that “frivolous suits

‘unduly burden the courts, obscure meritorious claims, and

require innocent parties to expend significant resources in

their defense.’”     Williams v. Secretary for Dep’t of

Corrections, 131 Fed. Appx. 682, 686 (11th Cir. 2005) (quoting

Phillips v. Mashburn, 746 F.2d 782, 784-85 (11th Cir. 1984)

(per curiam) (discussing 28 U.S.C. § 1915(d), which is the

precursor to 28 U.S.C. § 1915(e)).

    Under § 1915(e)(2)(B)(ii), a complaint also may be

dismissed for failure to state a claim upon which relief may

be granted; however, a court may dismiss on this ground “only

if it is clear that no relief could be granted under any set

of facts that could be proved consistent with the

allegations.”    Hishon v. King & Spalding, 467 U.S. 69, 73

(1984) (citing Conley v. Gibson, 355 U.S. 41, 45-46 (1957)).

    If the Court determines that the action is frivolous or

fails to state a claim on which relief may be granted, the

case may be dismissed “at any time.”        28 U.S.C. §

1915(e)(2)(B).

                            II. DISCUSSION

    For purposes of this analysis, the Court assumes as true

the allegations in Plaintiff’s Complaint.         On January 7, 2005,

Plaintiff filed a complaint under 42 U.S.C. § 1983 against


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Defendants, Darien Abrams and Mobile Police Detective Ben

Kinsey, arising out of an incident in April, 2003, when

Plaintiff was shot by Darien Abrams while attempting to steal

Abram’s car.    (Complaint, Doc. 1 at 4).       Plaintiff complains

that, although he “was wrong” for breaking into Abrams’ car,

Abrams should not have taken the law into his own hands.

(Id.).    Plaintiff further alleges that he asked Detective

Kinsey “can I do something about him shooting me,” and Kinsey

advised Plaintiff that he could not because Abrams had a

license for his gun.     (Id.).     Plaintiff was convicted of

attempted first degree theft in February, 2004, and sentenced

to fifteen years.    (Id. at 6).

    On January 18, 2005, the Court ordered Plaintiff to sign

and re-file his Complaint.        (Doc. 3).   Plaintiff signed and

returned the Complaint on February 11, 2005, seeking “a little

money” and his “freedom.” (Doc. 5 at 4).         Having considered

Plaintiff’s Complaint in its entirety, the Court finds that

Plaintiff’s allegations are frivolous and fail to establish

any claim for which relief could be granted.

    A. Plaintiff’s Claim Against Darien Abrams

    Plaintiff has named Darien Abrams as a defendant in this

action.    However, Plaintiff does not allege that Abrams acted

under color of state law.


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     In order to state a claim under 42 U.S.C. § 1983, a

plaintiff must establish: (1) that the defendant deprived him

“of a right secured under the Constitution or federal law and

(2) that the deprivation occurred under color of state law.”

Willis v. University Health Servs., Inc., 993 F.2d 837, 840

(11th Cir. 1993).

          Previously, this circuit set forth the
          three primary tests the Supreme Court has
          used to determine whether state action
          exists: (1) the public function test; (2)
          the state compulsion test; and (3) the
          nexus/joint action test. National
          Broadcasting Co., Inc. v. Communications
          Workers of America, AFL-CIO, 860 F.2d 1022,
          1026 (11th Cir. 1988). The public function
          test limits state action to instances where
          private actors are performing functions
          “traditionally the exclusive prerogative of
          the state.” NBC, 860 F.2d at 1026
          (citations omitted). The state compulsion
          test limits state action to instances where
          the government “has coerced or at least
          significantly encouraged the action alleged
          to violate the Constitution.” NBC, 860
          F.2d at 1026 (citations omitted). The
          nexus/joint action test applies where “the
          state has so far insinuated itself into a
          position of interdependence with the
          [private party] that it was a joint
          participant in the enterprise.” NBC, 860
          F.2d at 1026-27 (citations omitted). We
          must determine on a case-by-case basis
          whether sufficient state action is present
          from a non-state actor (defendant) to
          sustain a section 1983 claim.


Willis, 993 F.2d at 840.

     From the allegations contained in Plaintiff’s Complaint,

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Defendant Abrams does not appear to be a typical state actor.

To the contrary, Plaintiff’s allegations indicate that Abrams

is a private citizen who shot Plaintiff while Plaintiff

attempted to steal his car.      (Doc. 5 at 4).      In addition,

there are no allegations that, as a private actor, Abrams

performed a traditional state function, that Abrams was

coerced into action by the State, or that Abrams was a joint

participant with the State in their business.

    Because Plaintiff does not even allege a deprivation by

Defendant Abrams that occurred under color of state law, the

Court concludes that Plaintiff’s § 1983 claim against

Defendant Abrams “lacks an arguable basis in law” and is,

therefore, frivolous.     See Neitzke, 490 U.S. at 325.

Moreover, because § 1983 relief could not be granted under any

set of facts that could be proved consistent with Plaintiff’s

allegations against Defendant Abrams, the Court further

concludes that Plaintiff’s Complaint against Abrams fails to

state a claim upon which relief can be granted.           See Hishon,

467 U.S. at 73.

    B. Plaintiff’s Claim Against Ben Kinsey

    The legal theory asserted by Plaintiff against Defendant

Kinsey is unclear.    From the Complaint, it appears that



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Plaintiff is seeking redress against Detective Kinsey for

Kinsey giving him bad legal advice. Plaintiff states that he

asked Detective Kinsey, “can I do something about [Abrams]

shooting me,” and Kinsey replied “no,” because Abrams had a

license for his gun.     (Doc. 5 at 4).

    In order to state a claim under § 1983, a plaintiff must

be deprived of “rights, privileges, or immunities secured by

the Constitution or laws of the United States.”           Parratt v.

Taylor, 451 U.S. 527, 535 (1981), overruled on other grounds,

Daniels v. Williams, 474 U.S. 327, 330-31 (1986).           Plaintiff

has offered no theory as to how Detective Kinsey’s statement,

even if ill advised, deprived him of a right secured under the

Constitution or federal law.

    Where, as here, the Court “determines from the face of

the complaint that the factual allegations are clearly

baseless or that the legal theories are indisputably

meritless,” it may dismiss the complaint.         Williams, 131 Fed.

Appx. at 686 (quoting Carroll v. Gross, 984 F.2d 392, 393

(11th Cir. 1993) (per curiam) (internal quotations omitted)).

Having considered the factual allegations asserted against

Detective Kinsey in Plaintiff’s Complaint, the Court is unable

to discern any cognizable legal theory by which Plaintiff



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could recover under § 1983.      Therefore, the Court concludes

that Plaintiff’s claim against Detective Kinsey is due to be

dismissed as frivolous and for failure to state a claim upon

which relief can be granted.

    C.    Plaintiff’s Request for his “Freedom”


    Even if Plaintiff’s Complaint stated a claim against

Defendants Abrams or Kinsey, which it does not, Plaintiff’s

request for his “freedom” is not a cognizable claim in a §

1983 action.   A claim for injunctive or declaratory relief in

a § 1983 action, where a plaintiff challenges the fact or

duration of his confinement and seeks his immediate or

speedier release, is not cognizable in a § 1983 action.

Abella v. Rubino, 63 F.3d 1063, 1066 (11th Cir. 1995).

“[H]abeas corpus is the exclusive remedy for a state prisoner

who challenges the fact or duration of his confinement and

seeks immediate or speedier release."        Id. (quoting Heck v.

Humphrey, 512 U.S. 477, 481 (1994)).        “[D]eclaratory or

injunctive relief claims which are in the nature of habeas

corpus claims--i.e., claims which challenge the validity of

the claimant's conviction or sentence and seek release--are

simply not cognizable under § 1983.”        Id.   Therefore,

Plaintiff's claim for injunctive relief in this action, i.e.,



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his request for “freedom,” lacks an arguable basis in law and

is, therefore, frivolous and fails to state a claim upon which

relief may be granted.

                              CONCLUSION

    Based upon the foregoing, it is recommended that this

action be dismissed without prejudice pursuant to 28 U.S.C. §

1915(e)(2)(B)(i), as frivolous, and pursuant to 28 U.S.C. §

1915(e)(2)(B)(ii), for failure to state a claim upon which

relief may be granted.



     MAGISTRATE JUDGE’S EXPLANATION OF PROCEDURAL RIGHTS
         AND RESPONSIBILITIES FOLLOWING RECOMMENDATION
          AND FINDINGS CONCERNING NEED FOR TRANSCRIPT


1.   Objection. Any party who objects to this recommendation or
anything in it must, within ten days of the date of service of
this document, file specific written objections with the clerk
of court. Failure to do so will bar a de novo determination by
the district judge of anything in the recommendation and will
bar an attack, on appeal, of the factual findings of the
magistrate judge. See 28 U.S.C. § 636(b)(1)(C); Lewis v. Smith,
855 F.2d 736, 738 (11th Cir. 1988); Nettles v. Wainwright, 677
F.2d 404 (5th Cir. Unit B, 1982)(en banc). The procedure for
challenging the findings and recommendations of the magistrate
judge is set out in more detail in SD ALA LR 72.4 (June 1,
1997), which provides that:


    A party may object to a recommendation entered by a
    magistrate judge in a dispositive matter, that is, a matter
    excepted by 28 U.S.C. § 636(b)(1)(A), by filing a
    "Statement    of    Objection   to    Magistrate    Judge’s
    Recommendation" within ten days after being served with a
    copy of the recommendation, unless a different time is

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    established by order.   The statement of objection shall
    specify those portions of the recommendation to which
    objection is made and the basis for the objection.     The
    objecting party shall submit to the district judge, at the
    time of filing the objection, a brief setting forth the
    party’s    arguments   that    the   magistrate    judge’s
    recommendation should be reviewed de novo and a different
    disposition made. It is insufficient to submit only a copy
    of the original brief submitted to the magistrate judge,
    although a copy of the original brief may be submitted or
    referred to and incorporated into the brief in support of
    the objection. Failure to submit a brief in support of the
    objection may be deemed an abandonment of the objection.


     A magistrate judge’s recommendation cannot be appealed to
a Court of Appeals; only the district judge’s order or judgment
can be appealed.


2.   Transcript (applicable where proceedings tape recorded).
Pursuant to 28 U.S.C. § 1915 and Fed. R. Civ. P. 72(b), the
magistrate judge finds that the tapes and original records in
this action are adequate for purposes of review.      Any party
planning to object to this recommendation, but unable to pay the
fee for a transcript, is advised that a judicial determination
that transcription is necessary is required before the United
States will pay the cost of the transcript.


    DONE this 21st day of November, 2005.


                                 s/BERT W. MILLING, JR.
                                 UNITED STATES MAGISTRATE JUDGE




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